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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

             v.                                         Case No. ____________________

 ELIANDE TUNIS,
 JOCELYN DOR,
      AND
 WALDER ST. LOUIS,                                      Filed Under Seal
             Defendants.


                               AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR AN ARREST WARRANT

       This affidavit is submitted by Special Agent Ryan Bonura in support of criminal complaints

and applications for arrest warrants relating to:

       ELIANDE TUNIS (hereinafter “TUNIS”), a U.S. citizen and resident of Florida;

       JOCELYN DOR (hereinafter “DOR”), a Haitian citizen, who resides in Florida; and

       WALDER ST. LOUIS (hereinafter “ST. LOUIS”) a Haitian citizen, who resides in Florida.

       I respectfully submit that there is probable cause to believe that, between September 24,

2021 and the present, the above-identified individuals have committed the following criminal

offenses in violation of United States law:

   1. 18 U.S.C. § 371 (Conspiracy to Violate the Export Control Reform Act (“ECRA”), 50

       U.S.C. § 4819); and

   2. 50 U.S.C. § 4819 (ECRA); and

   3. 18 U.S.C. § 554(a) (Smuggling).

                                       AGENT BACKGROUND

       1.         I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and I have

been since March 2012. I am an investigative or law enforcement officer of the United Sates within

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the meaning of Section 2510(7) of Title 18 of the United States Code; that is, an officer of the

United States who is empowered by law to conduct investigations and make arrests for offenses

enumerated in Titles 8, 18, 79, 21, and 31 of the United States Code. Throughout my career, I have

participated in and directed criminal investigations involving international violent crime,

kidnapping, homicide, and material support to terrorists. I am a graduate of the FBI Academy,

where I was trained in, among other topics, criminal investigative techniques, and extraterritorial

investigations. As a federal agent, I am authorized to investigate violations of laws of the United

States, and as a law enforcement officer I am authorized to execute warrants issued under the

authority of the United States. I have personally participated in this investigation and have

witnessed many of the facts and circumstances described herein. I have also revived information

from other federal and foreign law enforcement officials relating to this investigation. The

statements contained in this affidavit are based on my own observations, witness interviews,

document reviews and reliable information provided to me by other federal and foreign law

enforcement officials. Because this affidavit is submitted for the purpose of seeking the issuance

of a criminal complaint and arrest warrant, it does not include every fact known to me concerning

the investigation.

                                  JURISDICTION AND VENUE

       2.      This Court has jurisdiction and venue to issue the requested warrant. Specifically,

the Court is “a district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 2711(3)(A)(i). As discussed more fully below, acts or omissions in

furtherance of the offenses under investigation occurred within the District of Columbia. See 18

U.S.C. § 3237. Moreover, venue for 18 U.S.C. § 554(a) is proper in the District because there is

venue for the underlying offense, 50 U.S.C. § 4819, in the District.



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                               STATUTES AND REGULATIONS

                                The Export Control Reform Act

       3.      The Export Control Reform Act of 2018 (“ECRA”) provides, among its stated

policy objectives, that “[t]he national security and foreign policy of the United States require that

the export, reexport, and in-country transfer of items, and specific activities of United States

persons, wherever located, be controlled . . . .” 50 U.S.C. § 4811(2). To that end, ECRA grants the

President the authority to control “(1) the export, reexport, and in-country transfer of items subject

to the jurisdiction of the United States, whether by United States persons or by foreign persons;

and (2) the activities of United States persons, wherever located, relating to” specific categories of

items and information. Id. at § 4812(b). ECRA further grants to the Secretary of Commerce the

authority to establish the applicable regulatory framework. Id. at § 4813(a).

       4.      Pursuant to ECRA, the Department of Commerce (“DOC”) reviews and

controls the export of certain items, including commodities, software, and technologies, from

the United States to foreign countries through the Export Administration Regulations (“EAR”),

15 C.F.R. §§ 730-774. In particular, the EAR restrict the export of items that could make a

significant contribution to the military potential of other nations or that could be detrimental to

the foreign policy or national security of the United States. The EAR impose licensing and other

requirements for items subject to the EAR to be exported lawfully from the United States or

re-exported lawfully from one foreign destination to another.

       5.      The most sensitive items subject to EAR controls are identified on the Commerce

Control List (“CCL”), published at 15 C.F.R. part 774, Supp. No. 1. Items on the CCL are

categorized by an Export Control Classification Number (“ECCN”) based on their technical

characteristics. Each ECCN has export control requirements depending on the destination, end



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user, and end use.

       6.      Relevant here, the DOC is currently responsible for licensing the export of a variety

of firearms and related commodities from the United States. When required, these licenses are

issued by the DOC’s Bureau of Industry and Security (“BIS”), which is located in the District of

Columbia.

       7.      Pursuant to 50 U.S.C. § 4819(a)(1), “[i]t shall be unlawful for a person to violate,

attempt to violate, conspire to violate, or cause a violation of this subchapter or of any regulation,

order, license, or other authorization issued under this subchapter, including any of the unlawful

acts described in paragraph (2).” Such unlawful acts include, among other acts, that “[n]o person

may order, buy, remove, conceal, store, use, sell, loan, dispose of, transfer, transport, finance,

forward, or otherwise service, in whole or in part, or conduct negotiations to facilitate such

activities for, any item exported or to be exported from the United States, or that is otherwise

subject to the [EAR], with knowledge that a violation of this subchapter, the [EAR], or any order,

license or authorization issued thereunder, has occurred, is about to occur, or is intended to occur

in connection with the item unless valid authorization is obtained therefor.” Id. at § 4819(a)(2).

Pursuant to 50 U.S.C. § 4819(b), “[a] person who willfully commits, willfully attempts to commit,

or willfully conspires to commit, or aids and abets in the commission of, an unlawful act described

in subsection (a)” shall be guilty of a crime and subject to imprisonment of up to 20 years.




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                                           Smuggling

       8.      Title 18, United States Code, Section 554 makes it illegal to export an item in

violation of another law, including the ECRA, and also makes it illegal to purchase, store, sell,

or conceal any item intended for illegal export from the United States. Specifically, Section

554(a) provides: “Whoever fraudulently or knowingly exports or sends from the United

States, or attempts to export or send from the United States, any merchandise, article, or object

contrary to any law or regulation of the United States, or receives, conceals, buys, sells, or

in any manner facilitates the transportation, concealment, or sale of such merchandise, article

or object, prior to exportation, knowing the same to be intended for exportation contrary to

any law or regulation of the United States,” shall be subject to criminal penalties. Violations

of Section 554 are punishable by a prison term of up to 10 years. 18 U.S.C. § 554(a).

                                        The Gun Control Act

       9.      The Gun Control Act, 18 U.S.C. § 921 et seq., requires a license to deal in firearms

from the Attorney General, who is located in the District of Columbia. Firearms dealers are

required to fill out, keep, and maintain paperwork, i.e., a Firearms Transaction Record, related to

certain firearms sales, and make the same available to the Bureau of Alcohol, Tobacco, Firearms,

and Explosives (“ATF”), which is also located in the District of Columbia. Among other things, it

is illegal under the Gun Control Act to make a false statement during the purchase of a firearm.

See 18 U.S.C. § 922(a)(6).

                                            Conspiracy

       10.     Under 18 U.S.C. § 371, it is illegal to conspire to commit a crime or defraud the

United States, or any agency thereof.




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                         FACTS SUPPORTING PROBABLE CAUSE

                      Background on 400 Mawozo and Haiti Kidnappings

       11.     400 Mawozo is a Haitian gang and criminal organization that operated in the Croix-

des-Bouquets area to the east of Port-au-Prince, Haiti.

       12.     On or about October 16, 2021, at approximately 1:00 p.m. (EST), sixteen U.S.

citizens were kidnapped near Port au Prince, Haiti, including five children, one as young as eight

months old. The victims were part of a missionary organization and had been taking a bus to visit

a local orphanage. While returning therefrom, the kidnappers forced at gunpoint the group’s bus

driver to stop and took control of the bus and its occupants.

       13.     On or about October 16, 2021, a representative of the missionary organization

received a phone call from an individual claiming to be the leader of the kidnappers. The individual

stated that he had the victims and was holding them for ransom of $l million each. The individual

told the representative that he would be in touch regarding next steps.

       14.     On or about October 18, 2021, Haitian social media began to share reporting that a

specific gang, known locally as 400 Mawozo, had taken credit for the kidnapping and was making

publicly known the ransom demand. On or about October 22, 2021, a Facebook video post showed

Individual 2 at a local funeral for killed gang members stating that he intended to kill the

Americans if he did not receive his money.

       15.     As of the date of this affidavit, the hostage takers have had several ransom calls

with a representative of the missionary organization. The hostage takers have not released any of

the victims.




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                                          The Conspirators

        16.      Coconspirator 1 is a Haitian national and a member of 400 Mawozo. Coconspirator

1 is incarcerated, but still serves as a leader of the organization in Haiti and directs operations from

prison using an unmonitored cellular phone.

        17.      Individual 2 is a Haitian national and a member of 400 Mawozo. Individual 2 serves

as a leader of the organization in Haiti. Individual 2 has appeared on videos posted on social media,

stated his name, and declared himself as the leader of 400 Mawozo, including videos posted on

social media sites YouTube and Facebook on or about October 22, 2021. Individual 2 has given

video recorded statements to the Haitian press in which he claims to be the leader of 400 Mawozo,

including in videos posted by press organizations on or about April 13, 2020, and September 6,

2021.

        18.      TUNIS is a U.S. citizen, born in Haiti, who resides in Florida and is a member of

400 Mawozo. As described further herein, TUNIS and her coconspirators obtained weapons and

ammunition in the United States and sent the same to 400 Mawozo members in Haiti. In order to

achieve the scheme, among other things, TUNIS used straw purchasers and falsified ATF

paperwork and smuggled and concealed the weapons and ammunition in shipping containers.

TUNIS has pledged her allegiance to 400 Mawozo on prior occasions, including as follows:

              a. On or about October 19, 2021, TUNIS texted Coconspirator 1 on WhatsApp (in

                 Creole), “Don’t worry about it, stay calm. You know we are 400 Mawozo and we

                 are strong. Keep a cool head.” 1




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        Messages in Creole were translated into English by FBI interpreters.
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             b. Also on or about October 19, 2021, TUNIS sent an audio file to Coconspirator 1 on

                 WhatsApp (in Creole), “We are snakes, We slither to get where we are going. They

                 would be shocked to see Mawozo invade Miami.”

These conversations demonstrate TUNIS’s leadership in the gang because she directly

communicates with its leader, Coconspirator 1. Additionally, TUNIS’s statement that “They would

be shocked to see Mawozo invade Miami” confirmed TUNIS’s covert affiliation with the gang in

South Florida.

       19.       DOR is a Haitian citizen, who resides in Florida. DOR holds a Florida concealed

carry (“CCW”) permit, and the five-day waiting period to possess a firearm is inapplicable to DOR.

       20.       ST. LOUIS is a Haitian citizen, who resides in Florida. ST. LOUIS holds a Florida

CCW permit, and the five-day waiting period to possess a firearm is inapplicable to ST. LOUIS.

                                           The Conspiracy

       21.       Beginning at least on or about September 24, 2021, and continuing until the present,

TUNIS, Coconspirator 1, DOR, ST. LOUIS, and others known and unknown, in an offense begun

and committed in Haiti, and continued within the District of Columbia and elsewhere, knowingly

combined, conspired, confederated, and agreed together and with each other to commit a crime

against the United States and its agency, DOC, to wit to export and cause the exportation of goods

from the United States to Haiti without having first obtained the required licenses from BIS,

located in the District of Columbia, in violation of 50 U.S.C. § 4819 (ECRA).

       22.       It was part and a goal of the conspiracy to acquire U.S.-origin goods, specifically

firearms and ammunition, from the United States to supply to members of the 400 Mawozo gang

in Haiti; to conceal from United States licensed firearm dealers and, in turn from the United States

government and its agency, ATF, that the U.S.-origin goods were destined for Haiti so as to avoid



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penalties and disruption of the illegal activity; to frustrate the laws and regulations of the United

States; and to evade the prohibitions and licensing requirements of ECRA. The conspiracy was

effected in and by the following manners and means, among others:

               A.      According to call data records, TUNIS (using a cellular telephone with the

       number ending in *3447) regularly contacted what your Affiant believes are the phone

       numbers utilized by Coconspirator 1 (ending in *5752) and Individual 2 (ending in *3589).

                        i. From on or about August 1, 2021, until on or about October 21, 2021,

                           the telephone number of TUNIS had contact with Coconspirator 1 on

                           88 occasions, and 20 of those calls (23%) have occurred between

                           October 16-21, 2021.

                       ii. From on or about August 1, 2021, until on or about October 11, 2021,

                           the telephone number of TUNIS had contact with Individual 2 on 261

                           occasions. In that time period, TUNIS and Coconspirator 1 spoke on 62

                           out of 71 days.

                       iii. During the same time periods, TUNIS had contact with Coconspirator

                           1 and Individual 2 on several occasions, where the calls overlapped and

                           thus your Affiant deduces that these were three-way calls, as follows:

                              CALLING                 CALLED                   DURATION
 DATE AND TIME                NUMBER                  NUMBER                   (minutes)
 09/12/2021 21:42:00          Individual 2            Coconspirator 1          30.58
 09/12/2021 21:53:47          TUNIS                   Coconspirator 1          19.02


 10/19/2021 16:54:01          Coconspirator 1         Individual 2             8.12
 10/19/2021 16:57:18          TUNIS                   Coconspirator 1          11.43


 10/21/2021 07:17:59          Coconspirator 1         Individual 2             20.20
 10/21/2021 07:21:22          TUNIS                   Coconspirator 1          4.02



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       B.      According to messages found on TUNIS’s phone, in combination with call

data records, TUNIS obtained specifications for weapons and ammunition that

Coconspirator 1 wanted to be sent to Haiti for use by 400 Mawozo.

       C.      According to messages found on TUNIS’s phone, in combination with call

data records, TUNIS purchased, or instructed DOR and ST. LOUIS to purchase, weapons

and ammunition for the gang.

               i. For instance, on or about October 5, 2021, TUNIS and DOR exchanged

                  a series of WhatsApp text and audio messages while DOR was shopping

                  for firearms and ammunition in a gun store in Orlando, Florida. During

                  these conversations TUNIS frequently coached DOR about what

                  firearms to purchase. DOR became concerned because the gun store

                  clerk suspected he was buying firearms for another person and told

                  TUNIS to stop calling him.

               ii. Similarly, on or about October 6, 2021, TUNIS forwarded to ST.

                  LOUIS an audio message via WhatsApp, in which Coconspirator 1 was

                  admonishing ST. LOUIS for his failure to follow Coconspirator 1’s

                  instructions to purchase firearms and was praising DOR for quickly

                  following similar orders. Upon hearing the message, ST. LOUIS

                  responded, “I’m not going to pick the stuff (firearms) with that tone. But

                  don’t worry. I’ll fix it.”

       D.      As described further herein, TUNIS, DOR, and ST. LOUIS filled out false

ATF forms stating that they were the “actual buyers” of the firearms and that they were not




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       buying the firearms for another person, when in fact, they intended to ship and did ship the

       firearms to Haiti for use by 400 Mawozo.

               E.      TUNIS, DOR, and ST. LOUIS shipped, caused the firearms to be shipped,

       or attempted the same, to Haiti, in part by smuggling the weapons. Specifically, the

       weapons were wrapped in various packaging, stored in barrel drums, and covered with

       various household items to disguise the shipment.

               F.      In order to fund this conspiracy, TUNIS fraudulently obtained money from

       V-1, an elderly individual for whom TUNIS worked, and caused the same to be wired to

       TUNIS’S bank account.

                                  Exported Items Subject to the CCL

       23.     TUNIS, DOR, and ST. LOUIS purchased and attempted to purchase U.S.-origin

goods, including firearms and ammunition, from several companies, for export to Haiti and for use

of 400 Mawozo Coconspirator 1, Individual 2, and others known and unknown, including the items

listed below (see Para. 25-44).

       24.     As relevant here, all of the items listed below (see Para. 25-44) have been classified

by BIS under ECCN 0A501.a and are subject to the EAR. Items under this ECCN are controlled

for National Security, Regional Stability, and Firearms Convention reasons. According to a BIS

senior licensing officer, export of these weapons from the United States to Haiti requires an export

license issued by BIS. A search of BIS licensing information using the names of the individuals

involved in these transactions failed to identify any valid export license(s) for these transactions.

       A.      SPRINGFIELD ARMORY M1A RIFLE

       25.     On or about September 27, 2021, DOR sent to TUNIS two screen shots of weapons

from a sporting goods store website depicting a Springfield M1A National Match Rifle,



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Springfield M1A SOCCOM 16 inch Close Quarter Battle Rifle, and a Springfield Armory M1A

Scout Squad rifle. On or about October 4, 2021, TUNIS sent Coconspirator 1 a text message saying

“I got the bullets” and then sent Coconspirator 1 a photograph of a Springfield M1A.

       26.     According to firearm store and ATF records, on or about October 6, 2021, DOR

purchased a Springfield Armory rifle (serial number (“SN”) 464977) for $2,555.99, from a

licensed firearms dealer in Florida.

       B.      BARRRETT FIFTY CALIBER RIFLE

       27.     On or about October 4, 2021, DOR sent TUNIS a video apparently taken at a

firearms dealer, showing a Barrett 82A1 .50 caliber rifle, which your affiant knows from publicly

available information that such rifles typically cost between $10,000 to $15,000. In the video, DOR

zoomed in to show TUNIS multiple parts of the firearm and the respective .50 caliber ammunition

in the display case.

       28.     According to phone records for a phone number believed to be associated with

Coconspirator 1 and the phone number used by TUNIS, on or about October 4, 2021,

Coconspirator 1 and TUNIS had an 86-minute phone call. Approximately one minute after the

phone call began, Coconspirator 1 placed a call to DOR that lasted approximately 46 minutes. The

timing of the calls likely indicates that there was a three-way call between Coconspirator 1, DOR,

and TUNIS.

       29.     Also on or about October 4, 2021, TUNIS deposited a $30,000 check into her TD

bank account that ended in 9870.

       30.     On or about October 5, 2021, TUNIS conducted a series of financial transactions

that resulted in a wire transfer of $15,000 to an account at a Fifth Third Bank account number

ending in *6301, which your affiant believes to be associated with DOR based on records from



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the payment app Zelle. Also on or about October 5, 2021, TUNIS sent DOR a WhatsApp message

with a receipt of the wire transfer. Also on or about October 5, 2021, DOR sent TUNIS an audio

message acknowledging receipt of the money transfer.

       31.     According to firearm store and ATF records, on or about October 6, 2021, DOR

purchased a Barrett rifle (SN #AA012733) for $11,79.99, from a licensed firearms dealer in

Florida.

       32.     Also on or about October 6, 2021, TUNIS sent DOR an audio message (in Creole)

to discuss the specialized ammunition used for the Barrett rifle.

               TUNIS: “What’s going on? I’m anxious. My heart is beating fast.”

               DOR: “For the small one, the type of ammo it takes is the 308. I don’t know if you
               want some of that. For the powerful one, they won’t sell me ammo because they
               haven’t tested it. I want those bullets. When you shoot, they’re like bombs. They
               make so much damage. It’s so powerful it catches fire like a bomb…I’m going to
               try to convince him to sell me them. If he will sell me them, he told me to buy 10,
               but I would only buy five.”

       33.     Based on my training and experience, I assess that when DOR uses the term “308,”

he is likely referring to the caliber of the rifle. I also assess that when DOR used the term “powerful

one,” he is likely referring to the ammunition used for a .50 caliber rifle, in this case the Barrett

rifle as compared to a smaller caliber such as the .308 caliber. Based on the context of this

conversation in the entirety of the conspiracy, I assess that when DOR states “if he will sell me

them,” he is referring to the store clerk, and when DOR stated “he told me to buy 10,” s/he is likely

referring to Coconspirator 1. Other text and voice messages obtained in the course of the

investigation show that Coconspirator 1 often placed “orders” regarding various weapons and

ammunition.

       34.     According to location information for TUNIS’s cellular phone, on or about October

7, 2021, TUNIS’s phone was located at longitude/latitude coordinates that correspond to the

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known location for DOR’s residence in Orlando, Florida. Later that same day, TUNIS’s phone

was located at longitude/latitude coordinates corresponding with Boca Raton, Florida. Your affiant

believes the above movement is consistent with TUNIS obtaining the firearm from DOR and

returning with it to South Florida.

       C.         TWO CENTURY ARMS RIFLES AND A PALMETTO ARMS PISTOL

       35.        On or about October 6, 2021, TUNIS sent a text message to ST. LOUIS, directing

ST. LOUIS to purchase two AK-47s and one AR-15 firearm from “Patrick,” last name unknown,

who your affiant believes to be associated with a pawn shop in Miami, Florida.

       36.        Also on or about October 6, 2021, approximately five hours after the above text

message was sent, ST. LOUIS sent to TUNIS four pictures of firearms from what appears to be

the inside of the aforementioned pawn shop, a licensed firearm dealer, based on my review of open

source information about the shop.

       37.        According to receipts from the pawn shop and ATF records, also on October 6,

2021, ST. LOUIS purchased the following weapons:

             a.   Century Arms 7.62 caliber VSKA (SN SV7034765) for $1,074.77;

             b.   Century Arms WASR-10 7.62 caliber (SN 19222511RO) for $841.12; and

             c.   Palmetto Arms PA-15 caliber 5.56 (SN SCD617477) for $747.66.

       38.        On or about October 10, 2021, ST. LOUIS sent to TUNIS a photograph of a single

receipt from the pawn shop in the amount of $2,855.

       39.        On or about October 11, 2021, TUNIS sent to ST. LOUIS a photograph of a

Western Union receipt from Haiti showing that $2,500 was wired to ST. LOUIS’s account.

       40.        On or about October 11, 2021, approximately 55 minutes after the transmission of

the photograph message referenced in paragraph 39, ST. LOUIS sent an audio message to TUNIS



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stating, “I sent two barrels and I have other firearms inside of it. They sent the barrels for $400

dollars…the barrels went to Laboule 16.” Based on my knowledge of the investigation, “Laboule

16” refers to a location south of Port au Prince.

       D.       RUGER PISTOL

       41.      On or about October 10, 2021, TUNIS sent a picture of a Ruger pistol to

Coconspirator 1. Thereafter, also on or about October 10, 2021, Coconspirator 1 and TUNIS

exchanged the following WhatsApp audio and text messages (in Creole):

       Coconspirator 1: “Is it on the butt of the firearm or the butt of the bullet? I got the
       firearm, but I need the bullets. I saw the firearm on a social media platform. If you
       have the firearm, then I need to have that bullet for the firearm. Please send me the
       video.”

       TUNIS: “On the butt of the bullet, baby”

       Coconspirator 1: (responding now via text message) “5.7 X 28 Ruger 57 Prescott az U S
       A Ruger 57”

       42.      Also on or about October 10, 2021, TUNIS had the following text and audio file

exchange via WhatsApp with Individual 3, a contact in her phone and an owner of a security

company. (Individual 3 is a Haitian-born, legal permanent resident of the United States.)

             a. TUNIS sent the picture of a Ruger pistol to Individual 3.

             b. In response, TUNIS and Individual 3 exchanged text messages in which TUNIS

                requested Individual 3 purchase the Ruger and ammunition for the handgun.

             c. Individual 3 responded via audio message (in Creole) to TUNIS saying, “Are you

                crazy?” Individual 3 then sent a text message (in English) to TUNIS, stating, “Sorry

                to informed [sic] you due to my reputation and pass deportations stories I won’t be

                able to help you with anything of your demanding. Once again my apologies on

                that but do not tell him because my life might in dangerous.”



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             d. TUNIS replied by text message via WhatsApp, stating, “No problem,” and that she

                would receive the money to make the purchase instead.

             e. Individual 3 replied by text message via WhatsApp, expressing concern that the

                DCPJ [Directorate of the Judicial Police in Haiti] “talk a lot.”

             f. TUNIS replied by text message (in Creole) via WhatsApp, telling Individual 3 to

                “relax” because she would take care of it.

       43.      According to ATF records, on or about October 14, 2021, TUNIS purchased a

Ruger 5.7 serial number 64332404, at a pawn and gun store in Pompano Beach, Florida, for an

unknown amount.

       44.      Also on or about October 14, 2021, TUNIS sent Coconspirator 1 a text message via

WhatsApp stating that “the other gun will come on Tuesday.” TUNIS further explained by text

message that the gun was like the one that Coconspirator 1 had previously acquired in Haiti and

like the one that was in the picture Coconspirator 1 had previously sent to TUNIS. TUNIS sent an

audio message (in Creole) via WhatsApp in which she explained to Coconspirator 1 that the gun

has the “pointy bullets” and (in Creole) “it’s the Ruger.” 2

                                Knowledge of Export Requirements

       45.      There is probable cause to believe that TUNIS, DOR, and ST. LOUIS all knew that

a license or permission was required to ship the firearms that they were purchasing to Haiti.

       46.      ATF requires that Form 4473, Firearms Transaction Record, must be filled out as a

condition of sale. Form 4473 states in part:

       WARNING: The information you provide will be used to determine whether you are
       prohibited by Federal or State law from receiving a firearm. Certain violations of the Gun
       Control Act, 18 U.S.C. 921 et. seq., are punishable by up to 10 years imprisonment and/or


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       Your affiant notes that information from the dealer indicates that this pistol has not yet
been picked up by TUNIS.
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       up to a $250,000 fine. Any person who exports a firearm without a proper authorization
       from either the Department of Commerce or the Department of State, as applicable, is
       subject to a fine of not more than $1,000,000 and up to 20 years imprisonment.


       47.    On or about the following dates, TUNIS, Dor, and ST. LOUIS filled out Form

4473 in order to purchase firearms with the aforementioned language, and thus were aware that

such firearms may not be exported without proper authorization from the U.S. government.

              Date of Form         Buyer              Location of Dealer
              3/23/2020            TUNIS              Pompano Beach, FL
              12/15/2020           TUNIS              Pompano Beach, FL
              3/13/2021            ST. LOUIS          Miami, FL
              3/13/2021            TUNIS              Miami, FL
              4/17/2021            TUNIS              Miami, FL
              9/21/2021            ST. LOUIS          Miami, FL
              10/1/2021            DOR                Orlando, FL
              10/6/2021            DOR                Orlando, FL
              10/6/2021            ST. LOUIS          Miami, FL
              10/11/2021           TUNIS              Pompano Beach, FL
              10/14/2021           TUNIS              Pompano Beach, FL


       48.    Additionally, Form 4473 asks in Question 21(a):

       Are you the actual transferee/buyer of the firearm(s) listed on this form and any
       continuation sheet(s) (ATF Form 5300.9A)? Warning: You are not the actual
       transferee/buyer if you are acquiring the firearm(s) on behalf of another person. If
       you are not the actual transferee/buyer, the licensee cannot transfer the firearm(s) to
       you.

       49.    Also on or about the dates listed above, TUNIS, DOR, and ST. LOUIS answered

“Yes” to question 21(a), and thus knowingly submitted false information to the licensed firearm

dealer and ATF.




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                             Evidence of Exportation and Smuggling

       50.      There is probable cause to believe that the coconspirators engaged in exporting

firearms to Haiti by means of smuggling on or about at least October 9, October 11, and October

19, 2021, or attempting to do the same.

       A.       October 9, 2021 Shipment

       51.      On or about October 5, 2021, DOR sent TUNIS an audio message via WhatsApp

in which DOR stated how a particular rifle can be broken down for shipment.

       52.      On or about October 9, 2021, TUNIS prepared and sent a shipment of firearms to

Haiti. Based on my review of photographs from TUNIS’s phone, TUNIS wrapped the firearms in

garbage bags, loaded them into large multi-gallon drums/barrels, and then covered the firearms

with various products such as clothes, shoes, and Gatorade. Relevant to this shipment, TUNIS took

the following photographs of a such a shipment on or about October 9, 2021:

             a. 2:17 PM: Blue barrel with firearms inside wrapped in garbage bags

             b. 3:09 PM: Blue barrel with blue and pink backpack inside, with TUNIS’s hand

                pointing to where the firearm is hidden

             c. 3:20 PM: Blue barrel with sheet covering contents

             d. 3:24 PM: Two blue barrels covered with lids

             e. 4:14 PM: Blue barrel with firearms inside wrapped in garbage bags

       B.       October 11, 2021 Shipment

       53.      As previously described, on or about October 11, 2021, ST. LOUIS sent an audio

message via WhatsApp to TUNIS stating, “I sent two barrels and I have other firearms inside of

it. They sent the barrels for $400 dollars…the barrels went to Laboule 16.” Based on my




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knowledge of the investigation, “Laboule 16” refers to a location south of Port au Prince. As

previously described, ST. LOUIS purchased firearms on or about October 6, 2021.

       C.       October 19, 2021 Shipment

       54.      According to location data stored on TUNIS’s phone, on or about October 18, 2021,

at approximately 9:00 AM (ET), TUNIS’s phone was located at the longitude/latitude coordinates

25,881654, -80.219501, which correspond to the location of ST. LOUIS’s address, and is

consistent with TUNIS obtaining items for shipment from ST. LOUIS.

       55.      As previously described, based on my review of photographs from TUNIS’s phone,

TUNIS wrapped the firearms in garbage bags, loaded them into large multi-gallon plastic barrels,

and then covered the firearms with various products such as clothes, shoes, and Gatorade. Relevant

to this shipment, TUNIS took the following photographs of a such a shipment on or about October

19-20, 2021:

             a. October 19, 2021 (11:07 AM): Blue barrel with firearms wrapped in garbage bags

             b. October 19, 2021 (11:07 AM): Blue barrel with firearms wrapped in garbage bags

             c. October 19, 2021 (11:09 AM): Blue barrel with firearms wrapped in garbage bags

             d. October 20, 2021 (12:00 AM): Multiple blue barrels covered in packing wrap

       56.      Also found on TUNIS’s phone was the stored contact information for “[First name]

Bwat,” with a phone number ending in *8097. Your affiant notes that, in Creole, “Bwat” translates

to box, more specifically shipping box. On or about October 18, 2021, TUNIS’s phone had a 9

minute phone call with this contact. On or about October 19, 2021 TUNIS’s phone had a 5 minute

phone call with this contact. On or about October 20, 2021, TUNIS’s phone had a 4 minute phone

call with this contact. Also on or about October 20, 2021, “Bwat’s” phone placed a 1 minute and




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14 second phone call to TUNIS. Your affiant submits that these phone calls are consistent with the

shipment to Haiti that occurred, or was attempted, on or about October 19, 2021.

       57.     According to public information, the phone number for “Bwat” (ending in *8097),

is associated with a furniture company located in Pompano Beach, Florida, which is owned and

operated by Individual 4. Individual 4 is a Haitian born, U.S. citizen. Individual 4 has a Florida

registration for a box truck and cargo vans. Your affiant notes that in some of TUNIS’s pictures

of barrels being sent to Haiti, there are displayed couches and other furniture being loaded into a

white box truck, which is consistent with TUNIS using Individual 4 to ship the firearms to Haiti.

       58.     Also on or about October 19, 2021, TUNIS sent a WhatsApp audio message to

Coconspirator 1 saying the person picking up the shipment complained to TUNIS that the barrels

were heavy. TUNIS stated to Coconspirator 1 that she told the shipper it was filled with rice. The

shipper said rice is not that heavy, but TUNIS convinced the shipper to take the barrels anyway.

                   REQUEST TO SUBMIT WARRANT BY TELEPHONE
                     OR OTHER RELIABLE ELECTRONIC MEANS

       59.     I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for an Arrest Warrant. I submit that Assistant U.S. Attorney

Karen P. Seifert, an attorney for the United States, is capable of identifying my voice and telephone

number for the Court.




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                                        CONCLUSION

       60.    Based on the forgoing, I submit that there is probable cause that between at least on

or about September 24, 2021, and the present, TUNIS, DOR, ST. LOUIS, and their coconspirators

have committed multiple counts of offenses 18 U.S.C. § 371 (Conspiracy to Violate the Export

Control Reform Act (ECRA), 50 U.S.C. § 4819); 50 U.S.C. § 4819 (ECRA); and 18 U.S.C.

§ 554(a) (Smuggling).

                                                 Respectfully submitted,



                                                 Ryan Bonura
                                                 Special Agent
                                                 Federal Bureau of Investigation




       Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on October 31, 2021

       _________________________________________
       G. MICHAEL HARVEY
       UNITED STATES MAGISTRATE JUDGE




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